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             EXHIBIT A
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                                                                         Page 1
 ·1· · · · · · ·UNITED STATES DISTRICT COURT
 · · · · · · ·IN AND FOR THE DISTRICT OF WYOMING
 ·2

 ·3· STEPHANIE WADSWORTH,· · · ·)
 · · individually and as· · · · )
 ·4· Parent and Legal· · · · · ·)· ·CASE NO.
 · · Guardian of W.W., K.W.,· · )· ·2:23-cv-00118-NDF
 ·5· G.W., and L.W., minor· · · )
 · · children, and MATTHEW· · · )
 ·6· WADSWORTH,· · · · · · · · ·)
 · · · · · · · · · · · · · · · ·)
 ·7· · · ·Plaintiffs,· · · · · ·)
 · · · · · · · · · · · · · · · ·)
 ·8· v.· · · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · ·)
 ·9· WALMART, INC. and JETSON· ·)
 · · ELECTRIC BIKES, LLC,· · · ·)
 10· · · · · · · · · · · · · · ·)
 · · · · ·Defendants.· · · · · ·)
 11

 12

 13· · · · · · · · · ·ORAL DEPOSITION OF

 14· · · · · · · ·DEREK A. KING, M.S., P.E.

 15· · · · · · · · MONDAY, AUGUST 19, 2024

 16

 17

 18

 19

 20

 21

 22 REPORTED BY:

 23 DEBRA A. DIBBLE, FAPR, RDR, CRR, CRC, Notary Public

 24 California CSR 14345

 25 JOB NO. 44990


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                                                                         Page 75
 ·1· · · A.· · Yes.
 ·2· · · Q.· · The negative side does not have a cap,
 ·3 correct?
 ·4· · · A.· · Correct.
 ·5· · · Q.· · And then you have:· Internal materials
 ·6 are mostly ejected, meaning they would have left the
 ·7 cell itself, correct?
 ·8· · · A.· · Yes.
 ·9· · · Q.· · And they would have left the cell through
 10 the end cap?
 11· · · A.· · Yes.· Or along with the end cap.
 12· · · Q.· · And then you have that that is consistent
 13 with an internal short, correct?
 14· · · A.· · Yes.
 15· · · Q.· · And when you say internal short, you mean
 16 a short circuit?
 17· · · A.· · Yes.
 18· · · Q.· · And in order to get a short circuit, you
 19 have to have -- does that require communication with
 20 the positive and negative side, meaning the anode
 21 and cathode?
 22· · · A.· · Yes.· Yep.
 23· · · Q.· · And then, so it's your opinion that
 24 cells 4 and 10, they both had an internal short
 25 circuit, correct?


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                                                                         Page 87
 ·1 BY MR. LAFLAMME:
 ·2· · · Q.· · And with respect to Exhibit 76, that
 ·3 doesn't show really any damage to this tab, correct?
 ·4· · · · · · · · MR. AYALA:· Form.
 ·5· · · A.· · That's correct.· Just a little
 ·6 deformation.
 ·7· · · · · · · · (King Deposition Exhibit 77 marked.)
 ·8 BY MR. LAFLAMME:
 ·9· · · Q.· · In looking at Exhibit 77, which is from
 10 the CT scan in a cross section of cell 4, here we
 11 still see the tab intact, correct?
 12· · · A.· · Yes.
 13· · · Q.· · And there's no melting on this tab?
 14· · · A.· · Not that's apparent.
 15· · · Q.· · And there was no melting on the tab in
 16 Exhibit 76 either, correct?
 17· · · A.· · That's correct.
 18· · · Q.· · And as with cell 10 in Exhibit 76, you
 19 would expect to see some damage or melting to this
 20 tab had there been an internal short circuit,
 21 correct?
 22· · · A.· · Possibly.
 23· · · · · · · · MR. AYALA:· Form.
 24 BY MR. LAFLAMME:
 25· · · Q.· · And in order to get an internal short


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                                                                         Page 88
 ·1 circuit, we talked about how the anode and cathode
 ·2 need to communicate, correct?
 ·3· · · A.· · Yes.
 ·4· · · Q.· · And the -- in between the anode and
 ·5 cathode within an 18650 cell is a separator,
 ·6 correct?
 ·7· · · A.· · Yes.
 ·8· · · Q.· · And what is the separator made out of?
 ·9· · · A.· · It's typically a polymer, a porous
 10 polymer.
 11· · · Q.· · So in order for the short circuit to
 12 occur in cells 4 and 10, you need to have a failure
 13 of the separator, correct?
 14· · · A.· · Yes.
 15· · · Q.· · If the separator doesn't fail, then there
 16 is no way for a short circuit to occur, correct?
 17· · · A.· · That's right.
 18· · · Q.· · And the separator is -- it's independent
 19 to each cell, correct?
 20· · · A.· · Each cell has its own separator.
 21· · · Q.· · Right.· So -- I guess what I'm getting at
 22 is, so each of the ten cells has its own separator
 23 between the anode and cathode, correct?
 24· · · A.· · Yes.
 25· · · Q.· · So in order to get a short at cells 4 and


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 ·1 10, both of those separators, so the separator in
 ·2 cell 4 and the separator in cell 10 would need to
 ·3 fail in order to get the communication from the
 ·4 anode and cathode.
 ·5· · · A.· · Yes.
 ·6· · · Q.· · And both of those separators would have
 ·7 to fail at the same time in order to get a short in
 ·8 cells 4 and 10, correct?
 ·9· · · A.· · I don't see a timing requirement for
 10 those to be synchronized.
 11· · · Q.· · Well, in order to get -- because we just
 12 talked about how you have cells 4 and 10, those are
 13 the two cells that had a short circuit, correct?
 14· · · A.· · Yes.
 15· · · Q.· · And both of those cells, when they had
 16 their short circuit, you talked about how your --
 17 the progression of the failure was that the end caps
 18 would have come off on cells 4 and 10, then you'd
 19 get the internal contents and some flame on the
 20 internal portions of the hoverboard, which would
 21 then ignite combustibles by cells 4 and 10, correct?
 22· · · A.· · Yes.
 23· · · Q.· · And cells 4 and 10 would have failed at
 24 the same time, correct?
 25· · · · · · · · MR. AYALA:· Form.


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 ·1 whether the fire could have started at the smoking
 ·2 shed, correct?
 ·3· · · A.· · Correct.
 ·4· · · Q.· · And the only physical evidence that you
 ·5 have looked at is the hoverboard, correct?
 ·6· · · A.· · Yes.
 ·7· · · Q.· · And you'll agree that lithium-ion battery
 ·8 cells can fail when they are subject to an external
 ·9 fire attack?
 10· · · A.· · Yes.
 11· · · Q.· · And you don't -- you haven't done any
 12 assessment to determine how this fire may have moved
 13 through the Wadsworth structure, correct?
 14· · · A.· · Correct.
 15· · · Q.· · One of the things that you said is that
 16 an internal short within a lithium-ion battery
 17 should only affect that singular cell.
 18· · · · · · Do you recall that?
 19· · · A.· · Yes.
 20· · · Q.· · And in this case, you're saying that two
 21 singular cells had a short circuit, correct?
 22· · · A.· · Yes.
 23· · · Q.· · So at substantially the same time, two
 24 different cells in two different parts of this
 25 battery pack had a failure of the separators within


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 ·1· · · A.· · Yes.· Yes.· I believe it's a coincidence,
 ·2 but that's what appears to have occurred.
 ·3 BY MR. LAFLAMME:
 ·4· · · Q.· · Have you done any research to determine
 ·5 the percentage chance of that coincidence?
 ·6· · · A.· · No.
 ·7· · · · · · · · MR. AYALA:· Form.
 ·8 BY MR. LAFLAMME:
 ·9· · · Q.· · The individual cell itself, the
 10 conditions that we see cells 4 and 10 in after the
 11 fire, those conditions would have the same
 12 appearance if it was an external fire attack as
 13 well, correct?
 14· · · A.· · Yes.· For those individual cells, yes.
 15· · · Q.· · Meaning when lithium-ion battery cells
 16 fail in a fire due to a fire attack, the appearance
 17 is similar to what we see the two cells that have
 18 failed in this case.
 19· · · A.· · Yes.
 20· · · Q.· · You were asked if it's possible to have a
 21 short -- an internal short with the cell -- or,
 22 sorry, with the hoverboard not plugged in.
 23· · · · · · Do you recall that?
 24· · · A.· · Yes.
 25· · · Q.· · You'd agree with me that it's very


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 ·1· · · · · · · · ·C E R T I F I C A T E

 ·2

 ·3· · · ·I, DEBRA A. DIBBLE, RDR, CRR, CRC, Notary

 ·4 Public, do hereby certify:

 ·5· · · ·That DEREK A. KING, M.S., P.E., the witness

 ·6 whose deposition is hereinbefore set forth, was duly

 ·7 sworn by me and that such deposition is a true

 ·8 record of the testimony given by such witness;

 ·9· · · ·That pursuant to FRCP Rule 30, signature of

 10 the witness was requested by the witness or other

 11 party before the conclusion of the deposition;

 12· · · ·I further certify that I am not related to any

 13 of the parties to this action by blood or marriage,

 14 and that I am in no way interested in the outcome of

 15 this matter.

 16· · · ·IN WITNESS WHEREOF, I have hereunto set my

 17 hand on this 23rd day of August, 2024.

 18

 19 ___________________________
 · ·Debra A. Dibble
 20 Fellow of the Academy of Professional Reporters
 · ·Registered Diplomate Reporter
 21 Certified Realtime Reporter
 · ·Notary Public 11/17/2027
 22 CA 14345

 23

 24

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